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 1   LAW OFFICES OF JOHNNY L. GRIFFIN III
     JOHNNY L. GRIFFIN, III (SBN 118694)
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     Tel.: (916) 444-5557
 4   Fax: (916) 444-5558
 5   Attorney for ANNA MARIA KAPODISTRIAS
 6
                                 UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                      )   CR No. S-06-367-GEB
 9
                                                    )
                    Plaintiff,                      )   STIPULATION AND [PROPOSED] ORDER
10
                                                    )   TO AMOUNT OF RESTITUTION
            vs.                                     )   Date: December 14, 2007
11
                                                    )   Time: 9:00 a.m.
     ANNA MARIA KAPODISTRIAS                        )   Court: Honorable Garland E. Burrell, Jr.
12
                                                    )
                    Defendant.                      )
13
                                                    )
14
            Defendant, ANNA MARIA KAPODISTRIAS, by and through her undersigned
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16   attorney, Johnny L. Griffin III, and the United States of America, by and through Assistant

17   United States, Attorney Laurel White, hereby agree and stipulate to the restitution amount

18   recommendation by the United States Probation Officer Karen A. Muesling. Specifically,

19   Defendant shall pay restitution in the amount of $44,320 jointly and severally with co-
20   defendant, Deonte Santos.
21
     Dated: December 13, 2007
22
                                                  Respectfully submitted,
23
                                                   /s/ Johnny L. Griffin, III _____
24                                                JOHNNY L. GRIFFIN, III
                                                  Attorney for Anna Maria Kapodistrias
25




                                       STIPULATION AND ORDER - 1
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 1

 2   Dated: December 13, 2007                              Respectfully submitted,
 3

 4
                                                           /s/ Laurel White __________
                                                           Laurel White [2]
 5                                                         Assistant United States Attorney

 6

 7                                                         ORDER

 8

 9            IT IS SO ORDERED.

10   Dated: December 13, 2007

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13                                                      GARLAND E. BURRELL, JR.
                                                        United States District Judge
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     [2]
         Assistant United States Attorney Laurel White telephonically authorized attorney Johnny L. Griffin, III to sign
     this Stipulation and Order on her behalf.


                                              STIPULATION AND ORDER - 2
